Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1617 Page 1 of 24

I Le

MAR - 1 op1g

UNITED STATES DISTRICT COURT y CLERK'S OFFICE
EASTERN DISTRICT OF MICHIGAN EASTER MCh
United States of America, No. 17-cr-20465
Hon. Denise Page Hood

Offense: 18 U.S.C. § 1349
D-8 Zahid Sheikh,
Maximum Sentence:
Defendant. 18 U.S.C. § 1349: 10 years / $250,000
fine or twice the gain/loss

 

Rule 11 Plea Agreement

 

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant
Zahid Sheikh (the “defendant” or “Sheikh’”’) and the United States agree as follows:
i GUILTY PLEA

A. Count of Conviction

The defendant will enter a plea of guilty to Count One of the Information.
Count One charges Conspiracy to Commit Health Care Fraud, in violation of 18
U.S.C. § 1349, and for which the penalty for each count is a statutory maximum of
10 years’ imprisonment, a fine that is greater of $250,000 or twice the pecuniary
gain or loss pursuant to 18 U.S.C. § 3571, and a three-year term of supervised

release.

GOVERNMENT
EXHIBIT
8

 
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1618 Page 2 of 24

B. Elements of Offense
As set forth in Count One of the Information, the defendant is charged with
conspiring to violate the health care fraud statute. The elements of Count One are
as follows:

First: That two or more persons conspired, or agreed, to commit the
crime of health care fraud; and

Second: That the defendant knowingly and voluntarily jomed the
conspiracy.

The health care fraud statute, 18 U.S.C. § 1347, makes it a Federal offense
for anyone, in connection with the delivery of any health care benefits, items, or
services, to knowingly and willfully execute, or attempt to execute, a scheme or
artifice: (1) to defraud any health care benefit program; or (2) to obtain, by means
of materially false or fraudulent pretenses, representations, or promises, any of the
money or property owned by, or under the custody or control of, any health care
benefit program.

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for the defendant’s
guilty plea:

Beginning in or about 2011 and continuing through in or about July 2017,

Sheikh knowingly and willfully conspired with others to devise a scheme to defraud
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1619 Page 3 of 24

Medicare, in violation of 18 U.S.C. § 1349. Medicare is a “health care benefit
program” of the United States, as defined by 18 U.S.C. § 24, and affects commerce.

Sheikh is a physician and was the owner and authorized official of Pondview
Personal Physicians, which is located at 30236 John R Road, Madison Heights,
Michigan 48071. Sheikh certified to Medicare on behalf of Pondview that he
agreed to abide by Medicare laws, regulations, and program instructions. These
laws, regulations, and program instructions include, but are not limited to, the
Federal anti-kickback statute and the Stark law.

During the course of the conspiracy Sheikh billed for patient home visits that
he did not perform. Sheikh and his co-conspirators agreed to fabricate, fabricated,
and directed others to fabricate, medical records to falsely show that Sheikh
provided services, including patient home visits, to Medicare beneficiaries when, in
fact, those services were medically unnecessary and often not provided as
represented. Sheikh also referred Medicare beneficiaries to co-conspirator home
health providers for medically unnecessary home health care services. In many
instances, the beneficiaries were not “homebound.”

Sheikh also received or caused other co-conspirators to receive illegal
kickbacks and bribes from Mashtyat Rashid and others for the referral of urine
samples by Sheikh to National Laboratories, Inc., for urine drug testing that was

medically unnecessary. Rashid, Sheikh, and others disguised the nature and source

3
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1620 Page 4 of 24

of these kickbacks and bribes by designating payments as “marketing agreements,”
or entering into sham contracts or employment relationships. Sheikh and others
also disguised the nature and source of these kickbacks and bribes by having the
payments made to R.K. Internationals, a company owned or controlled by a
personal associate of Sheikh’s.

During the course of the conspiracy charged in the Information, Sheikh
would submit or cause the submission of false and fraudulent claims to Medicare in
the approximate amount of $6,864,263.20.

The preceding statement is a summary, made for the purpose of providing the
Court with a factual basis for the defendant’s guilty plea to the charge against him.
It does not include all of the facts known to him concerning criminal activity in
which he and others engaged. The defendant makes this statement knowingly and
voluntarily and because he is in fact guilty of the crime charged.

2. SENTENCING GUIDELINES

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below, the
defendant’s guideline range is 87-108 months, as set forth on the attached

worksheets. Ifthe Court finds:
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1621 Page 5 of 24

1. That the defendant’s criminal history category is higher than reflected
on the attached worksheets, or
2. That the offense level should be higher because, after pleading guilty,
the defendant made any false statement to or withheld information
from his probation officer; otherwise demonstrated a lack of
acceptance of responsibility for his offenses; or obstructed justice or
committed any crime,
and if any such finding results in a guideline range higher than is recommended by
the parties, then the higher guideline range becomes each party’s recommended
range. However, if the Court finds that the defendant is a career offender, an armed
career criminal, or a repeat and dangerous sex offender as defined under the
sentencing guidelines or other federal law, and that finding is not already reflected
in the attached worksheets, this paragraph does not authorize a corresponding
increase in either party’s recommended range. Neither party may take a position in
this Court contrary to any position of that party reflected on the worksheets or
worksheet addendum, except as necessary to the Court’s determination regarding
subsections 1) and 2), above.
3. SENTENCE
The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing

so must consider the sentencing guideline range.
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1622 Page 6 of 24

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range
recommended by the government as described in Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment.
There is no agreement on supervised release. In other words, the Court may impose
any term of supervised release up to the statutory maximum term, which in this case
is three years. The agreement concerning imprisonment described above in
Paragraph 3A does not apply to any term of imprisonment that result from any later
revocation of supervised release.

C. Special Assessment

The defendant will pay a special assessment of $100. The defendant is
required to pay the special assessment immediately after sentence is imposed and
provide a receipt to the United States Attorney’s Office within 24 hours of
sentencing. The defendant is encouraged to voluntarily pay the special assessment
before sentencing and bring the receipt to sentencing.

D. Fine

The Court may impose a fine in any amount up to $250,000, or twice the

pecuniary gain or loss, pursuant to 18 U.S.C. § 3571(d).
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1623 Page 7 of 24

E. Restitution

The Court shall order restitution to every identifiable victim of the
defendant’s offense. The victims and the full amounts of restitution in this case are
as follows:

U.S. Department of Health and Human Services: $6,864,263.20.

F. Forfeiture

Pursuant to 18 U.S.C. § 982(a)(7) and/or § 981(a)(1)(C) with 28 U.S.C. §
2461(c), Defendant agrees to forfeit to the United States his interest in all property,
real and personal, which constitutes or is derived, directly or indirectly, from gross
proceeds traceable to Defendant’s conspiracy to commit health care fraud, in
violation of 18 U.S.C. § 1349, as charged in Counts One and Two of the
Information. Specifically, Defendant agrees to the forfeiture of all proceeds of the
offense to which he is pleading guilty that are deposited in financial institutions and
all assets purchased and/or obtained with the proceeds of the offense to which he is
pleading guilty, including real property.

Defendant agrees that the forfeiture money judgment may be satisfied, to —
whatever extent possible, from any property owned or under the control of
Defendant. To satisfy the money judgment, Defendant explicitly agrees to the

forfeiture of any assets as he has now, or may later acquire, as substitute assets
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1624 Page 8 of 24

under 21 U.S.C. § 853(p)(2) and waives and relinquishes his rights to oppose the
forfeiture of substitute assets under 21 U.S.C. § 853(p)(1) or otherwise.

Defendant agrees to the entry of one or more orders of forfeiture
incorporating forfeiture of the assets enumerated in this section and the above-
referenced money judgment, including the Court’s prompt entry of a Preliminary
Order of Forfeiture, following Defendant’s guilty plea, upon application by the
United States, at, or any time before, his sentencing in this case, as mandated by
Fed. R. Crim. P. 32.2. Defendant agrees to sign such an order, indicating he
consents to its entry if requested to do so by the Government.

Defendant agrees that he will cooperate with the United States by taking
whatever steps are necessary to deliver clear title to property subject to forfeiture
under this agreement to the United States and will execute such legal documents as
may be required to transfer rights, title, and ownership to the United States and by
taking whatever steps are necessary to ensure that the property is not sold,
disbursed, hidden, wasted, or otherwise made unavailable for forfeiture.

Defendant acknowledges that he understands that the forfeiture of assets is
part of the sentence that may be imposed in this case and waives any failure by the

| Court to advise him of this, pursuant to Fed. R. Crim. P. 11(b)(1)(J), or otherwise,

at the time of his guilty plea is accepted.
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1625 Page 9 of 24

In entering into this agreement with respect to forfeiture, Defendant
knowingly, voluntarily, and intelligently waives any Double Jeopardy challenge, or
any other challenge to the above-described forfeiture based on the Excessive Fines
Clause of the Eighth Amendment to the United States Constitution.

Defendant also agrees that Defendant shall assist the United States in all
proceedings, whether administrative or judicial, involving the forfeiture,
disgorgement, transfer, or surrender of all rights, title, and interest, regardless of
their nature of form, in the property that Defendant has agreed to forfeit, disgorge,
transfer, or surrender, and any other assets, including real and personal property, _
cash, and other monetary instruments, wherever located, which Defendant or others
to his knowledge have accumulated as a result of illegal activities.

Such assistance will include agreement by Defendant’s heirs, successors, and
assigns, to forfeiture, disgorgement, transfer, or surrender, to any interest in the
above-described forfeiture. Such assistance will further involve an agreement by
Defendant to the entry of an order enjoining the transfer or encumbrance of assets
that may be identified as being subject to forfeiture, disgorgement, transfer, or
surrender.

Defendant also agrees to identify all assets over which he exercises control,
directly or indirectly, or has exercised such control, within the past five years. He

will identify all assets in which he has or had during that time any financial interest
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1626 Page 10 of 24

will provide all necessary and appropriate documentation with respect to said
assets, including consents to forfeiture, quit claim deeds, and any and all other
documents necessary to deliver good and marketable title to said property.
Defendant agrees to take all steps as requested by the government to obtain from
any other parties by any lawful means any records of assets owner at any time by
Defendant. He-also agrees to undergo any polygraph examination the government
may choose to administer concerning such assets and to provide and/or consent to
the release of his tax returns for the previous five years.

Non-Abatement of Criminal Forfeiture: Defendant agrees the forfeiture
provisions of this Plea Agreement are intended to, and will, survive him,
notwithstanding the abatement of any underlying criminal conviction after the
execution of this agreement. The forfeitability of any particular property pursuant
to this agreement shall be determined as if Defendant had survived, and that
determination shall be binding upon Defendant’s heirs, successors, and assigns,
until the agreed forfeiture, including any agreed money judgment amount, is
collected in full.

4. COOPERATION AGREEMENT
The written cooperation agreement between the defendant and the

government is part of this plea agreement.

10
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1627 Page 11 of 24

5. USE OF WITHDRAWN GUILTY PLEA

If the Court allows the defendant to withdraw his guilty plea for a “fair and
just reason,” pursuant to Fed. R. Crim. P. 11(d)(2)(B), the defendant waives his
rights under Fed. R. Evid. 410, and the government may use his guilty plea, any
statement made under oath at the plea hearing, and the factual basis statement in
this plea agreement, against him in any proceeding.

6. EXCLUSION FROM THE MEDICARE PROGRAM AND OTHER
HEALTH CARE PROGRAMS

The defendant understands and acknowledges that as a result of this plea, the
defendant will be excluded from Medicare, Medicaid, and all federal health care
programs. The defendant agrees to complete and execute all necessary documents
provided by any department or agency of the federal government, including but not
limited to the United States Department of Health and Human Services, to
effectuate this exclusion within 60 days of receiving the documents. This exclusion
will not affect the defendant’s right to apply for and receive benefits as a
beneficiary under any federal health care program, including Medicare and
Medicaid.

7. RIGHT TO WITHDRAW
The government may withdraw from this agreement if the Court finds the

correct guideline range to be different than is determined by Paragraph 2B.

11
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1628 Page 12 of 24

The defendant may withdraw from this agreement, and may withdraw his guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
by Part 3. This is the only reason for which the defendant may withdraw from this
agreement. The Court shall advise the defendant that if he does not withdraw his
guilty plea under this circumstance, the Court may impose a sentence greater than
the maximum allowed by Part 3.
8. APPEAL WAIVER

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed the
maximum allowed by Part 3 of this agreement, the defendant also waives any right
he may have to appeal his sentence on any grounds. If the defendant’s sentence of
imprisonment is within the guideline range determined by Paragraph 2B, the
government agrees not to appeal the sentence, but retains its right to appeal any
sentence below that range. This waiver shall not be construed to bar a claim by the
defendant of ineffective assistance of counsel. In addition to the foregoing
provisions, the defendant hereby waives all rights to argue on appeal that the statute
to which the defendant is pleading guilty is unconstitutional and that the admitted

conduct does not fall within the scope of the statute.

12
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1629 Page 13 of 24

9. CONSEQUENCES OF WITHDRAWAL OF GUILTY
PLEA/VACATION OF CONVICTION

If the defendant is allowed to withdraw his guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against the defendant within six months after the date of
the order vacating the defendant’s conviction or allowing him to withdraw his
guilty plea becomes final, which charges relate directly or indirectly to the conduct
underlying the guilty plea or to any conduct reflected in the attached worksheets,
the defendant waives his right to challenge the additional charges on the ground that
they were not filed in a timely manner, including any claim that they were filed
after the limitations period expired.

10. PARTIES TO THE PLEA AGREEMENT

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Department of Justice, Criminal Division, Fraud
Section and the United States Attorney’s Office for the Eastern District of
Michigan.

11. SCOPE OF THE PLEA AGREEMENT
This agreement, which includes all documents that it explicitly incorporates,

is the complete agreement between the parties. This agreement supersedes all other

13
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1630 Page 14 of 24

promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time
before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to the defendant or to the attorney for the defendant at any time
before the defendant pleads guilty are binding except to the extent they have been
explicitly incorporated into this agreement.

Notwithstanding the previous paragraph, if the defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any
such prior written agreement.

This agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by the United

States or any other party.

Matthew Schneider
United States Attorney

Date: 228 lt? League Sab
Wayne Pratt

Chief, Health Care Fraud Unit
United States Attorney’s Office
Eastern District of Michigan

14
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1631 Page 15 of 24

Date: ©) %q i for Malisa Dubal~

Assistant Deputy Chief, Fraud Section
U.S. Department of Justice, Criminal

 

Division

Date: 2\25 \\n * Fabob I Foster ay
Trial Attorney CtTePiten/
Department of Justice

oe oe . Cineor
Criminal Division, Fraud Section < TA

15
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1632 Page 16 of 24

By signing below, the defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney’s advice and representation. The defendant agrees
that he has had a full and complete opportunity to confer with his lawyer and has
had all of his questions answered by his lawyer.

[OL OR an A Cc Sazoh A

 

 

Christopher Pencak, Esq. Zahid Sheikh
Attorney for Defendant Defendant
Date: 2 fi ff [Oo

16
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1633 Page 17 of 24

, WORKSHEET A

OFFENSE LEVEL

 

 

 

Defendant Zahid Sheikh District/Office Eastern District of Michigan
Docket Number
Count Number(s) 1 U.S. Code Title & Section 18. USC 1349

 

Guidelines Manual Edition Used: 2016 (Note: The Worksheeis are keyed to the November 1, 2016 Guidelines Manual)

INSTRUCTIONS
Complete a separate Worksheet A for each count of conviction or as required in a situation listed at the bottom of Worksheet B.*
Exceptions: Use only a single Worksheet A where the offense level for a group of closely related counts is based primarily on
aggregate value or quantity (see §3D1.2(d)) or where a count of conspiracy, solicitation, or attempt is grouped with a substantive
count that was the sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) & (b)).

1. Offense Level (See Chapter Two) ie Se Se ee age
Enter the applicable base offense level and any specific offense characteristics from Chapter Two and explain the
bases for these determinations. Enter the sum in the box provided.

 

 

 

 

 

Guideline Description Level
2B1.1(a)(2) Base Offense Level 6
2B1.1(b)(1) Loss 18
2B1.1(b)(7) Health Care Fraud Enhancement
2B1.1(b)(10) Sophisticated Means

 

 

 

If the Chapter Two guideline requires application of a cross reference or other
reference, an additional Worksheet A may be needed for that analysis. See §1B1.5.

 

sum |28

 

 

2. Victim-Related Adjustments (See Chapter Three, Pari A)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable, § 0
enter “0”.

 

 

 

 

3. Role inthe Offense Adjustments (See Chapier Three, Part B)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If the adjustment reduces the g 3B1.189B13 | A
offense level, enter a minus (—) sign in front of the adjustment. If no adjustment is OO
applicable, enter “0”.

4. Obstruction Adjustments (See Chapter Three, Part C)
Enter the applicable section and adjustment. If more than one section is applicable,
list each section and enter the combined adjustment. If no adjustment is applicable, § 0
enter “0”.

5. Adjusted Offense Level ee
Enter the sum of Items 1-4. If this Worksheet A does not cover all counts of conviction or situations
listed at the bottom of Worksheet B, complete Worksheet B. Otherwise, enter this result on 32
Worksheet D, Item 1.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check here if all counts (including situations listed at the bottom of Worksheet B)* are addressed on this one
Worksheet A. If so, no Worksheet B is used.

 

 

 

 

Y If the defendant has no criminal history, enter “I” here and on Worksheet D, Item 4. No Worksheet C is used.

 

U.S. Seniencing Commission Worksheets (November 1, 2014)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1634 Page 18 of 24

WORKSHEET B

MULTIPLE COUNTS*
Zahid Sheikh

Defendant Docket Number

INSTRUCTIONS

STEP 1: Determine if any of the counts group under §3D1.2(a)—(d) (“the grouping rules’). All, some, or none of the counts may group.
Some of the counts may have already been grouped in the application under Worksheet A, specifically: (1) counts grouped under
§3D1.2(d); or (2) a count charging conspiracy, solicitation, or attempt that is grouped with the substantive count of conviction
(see §3D1.2(a)). Explain the reasons for grouping:

 

 

 

 

STEP 2: Using the box(es) provided below, for each group of “closely related counts” (7.e., counts that group together under any of
the four grouping rules), enter the highest adjusted offense level from Item 5 of the various Worksheets “A” that comprise the
group. See §3D1.3. Note that a “group” may consist of a single count that has not grouped with any other count. In those instances,
the offense level for the group will be the adjusted offense level for the single count.

STEP 3: Enter the number of units to be assigned to each group (see §3D1.4) as follows:

One unit (1) for the group of counts with the highest offense level

An additional unit (1) for each group that is equally serious or 1 to 4 levels less serious
An additional half unit (1/2) for each group that is 5 to 8 levels less serious

No increase in units for groups that are 9 or more levels less serious

1. Adjusted Offense Level for the First Group of Counts

 

 

 

 

 

 

 

 

 

 

 

 

Count number(s) ____Unit
2. Adjusted Offense Level for the Second Group of Counis

Count number(s) ____ Unit
3. Adjusted Offense Level for the Third Group of Counts

Count number(s) ____Unit
4. Adjusted Offense Level for the Fourth Group of Counts

Count number(s) ____Unit
5. Adjusted Offense Level for the Fifth Group of Counts

Count number(s) Unit
6. Total Units

___ Total Units

7. Increase in Offense Level Based on Total Units (See §3D1.4)

 

1 unit: no increase 2% —3 units: add 3 levels
1% units: add 1 level 3% —5 units: add 4 levels
2 units: add 2 levels More than 5 units: add 5 levels

 

8. Highest of the Adjusted Offense Levels from Items 1-5 Above

 

 

 

 

9. Combined Adjusted Offense Level (See §3D1.4)

 

Enter the sum of Items 7 & 8 here and on Worksheet D, Item 1.

 

 

 

 

 

“Note: Worksheet B also includes applications that are done “as if there were multiple counts of convictions," including: multiple-object
conspiracies (see §1B1.2(d)); offense guidelines that direct such application (e.g., §2G2.1(d)(1) (Child Porn Production)); and stipulations to
additional offenses (see §1B1.2(c)). Note also that these situations typically require the use of multiple Worksheets A.

 

U.S. Seniencing Commission Worksheets (November 1, 2014)

 
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1635 Page 19 of 24

CRIMINAL HISTORY
[Page | of 2]

Defendant Zane eHenn Docket Number

 

 

Note: As an aid, some of the basic criminal history “rules” are listed below. However, there are numerous additional criminal history rules at
§§4A1.1 and 4A1.2 that must be used with Worksheet C and for correct application.

 

 

 

Enter the Earliest Date of the Defendant's Relevant Conduct
(The date of the defendant’s commencement of the instant offense(s))

 

1. Prior Sentences Resulting from Offenses Committed Prior to the Defendant's 18th Birthday _

(a) 3 Points if convicted as an adult, for each prior sentence of imprisonment exceeding one year and one
month imposed within 15 years of the defendant’s earliest date of relevant conduct or resulting in
incarceration during any part of that 15-year period. See §§4A1.1(a) and 4A1.2(d)(1) & (e)(1).

(b) 2 Points for each prior adult or juvenile sentence of confinement of at least 60 days not counted under
§4A1.1(a) imposed within 5 years or from which the defendant was released from confinement within 5 years
of the defendant's earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(d)(2)(A).

(c) 1 Point for each prior adult or juvenile sentence not counted under §4A1.1(a) or §4A1.1(b) imposed within
5 years of the defendant’s earliest date of relevant conduct. See §§4A1.1(c) and 4A1.2(d)(2)(B).

Note: Identify as “adult" any sentence exceeding one year and one month that resulted from an adult conviction.

A release date is required in only two instances: (1) when a sentence covered under §4A1.1(a) was imposed more than 15 years prior to fhe
defendant's earliest date of relevant conduct but resulted in the defendant being incarcerated during any part of such 15-year period; or
(2) when a sentence counted under §4A1.1(b) was imposed more than 5 years prior fo the defendant's earliest date of relevant conduct,
but release from confinement occurred within such 5-year period.

 

Date of Offense Sentence Release Guideline Criminal
Imposition Date Section History Points

 

 

 

 

 

 

 

 

2. Prior Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birlhday

(a) 3 Points for each prior sentence of imprisonment exceeding one year and one month imposed within
15 years of the defendant’s earliest date of relevant conduct or resulting in incarceration during any part of
that 15-year period. See §§4A1.1(a) and 4A1.2(e)(1).

(b) 2 Points for each prior sentence of imprisonment of at least 60 days not counted under §4A1.1(a) imposed
within 10 years of the defendant’s earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(e)(2).

(c) 1 Point for each prior sentence not counted under §4A1.1(a) or §4A1.1(b) imposed within 10 years of the
defendant’s earliest date of relevant conduct. See §§4A1.1(c) and 4A1.2(e)(2).

Note: A release date is required when a sentence covered under §4A1.1(a) was imposed more than 15 years prior to the defendant's earliest
date of relevant conduct but resulted in the defendant being incarcerated during any part of such 15-year period.

 

Date of Release Guideline Criminal
Imposition Offense fentence Date Section History Points

 

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1636 Page 20 of 24

Worksheet C — Criminal History [Page 2 of 2]

Zahid Sheikh

Defendant Docket Number

 

 

(continued from Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birthday)

 

Date of Release Guideline Criminal
Imposition Olfense SeMmenee Date Section History Points

 

 

 

 

 

 

 

 

3. Sum of Criminal History Points for prior sentences under §4A1.1(a), (b), & (c) inltems 1 & 2

 

A total of 4 points can be added for all the 1-Point sentences counted in Items 1 & 2 combined.

 

 

 

4. “Status” of Defendant at Time of Instant Offense
2 Points for “status” if the defendant committed any part of the instant offense (i.e., any relevant

 

conduct) while under any criminal justice sentence (e.g., probation, parole, supervised release,
imprisonment, work release, or escape status) for a sentence counted in Items 1 or 2. See §4A1.1(d)

 

 

 

and Application Note 4. List the type of control and identify the counted sentence that resulted in the
control. Otherwise, enter 0 Points.

 

 

5. Crimes of Violence
1 Point for each prior sentence resulting from a conviction of a crime of violence that did not receive

 

any points under §4A1.1(a), (b), or (c) because such sentence was counted as a single sentence which
also included another sentence resulting from a conviction for a crime of violence. A total of 3 points

 

 

 

can be added under this subsection. See §4A1.1(e) and Application Note 5, and §4A1.2(a)(2) & (p).
Identify the crimes of violence and briefly explain why the cases are considered a single sentence.
Otherwise, enter 0 Points.

 

 

4. Total Criminal History Points (SUm of Items 3-5)

 

 

 

 

5. Criminal History Category (Enter here and on Worksheet D, Item 4)

 

 

 

 

 

 

Total Points Criminal History Category
0-1 I
2-3 II
4-6 Ii
7-9 IV
10-12 Vv
13 or more VI

 

U.S. Sentencing Commission Worksheets (November 1, 20164)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1637 Page 21 of 24

DETERMINING THE SENTENCE
[Page | of 4]

Defendant Zahid Sheikh Docket Number

 

Ie Adjusted Offense Level (From Worksheet A or B) es fe!
If Worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise, enter the result
from Worksheet A, Item 5. 32

 

 

 

2. Acceptance of Responsibility (see Chapter Three, Part E)
Enter the applicable reduction of 2 or 3 levels. If no adjustment is applicable, enter “0”.

3. Offense Level Total (Ifem 1 less Item 2)

 

 

4. Criminal History Category (From Worksheet A or C)
Enter the result from Worksheet C, Item 8, unless the defendant has no criminal history, and as
directed at the bottom of Worksheet A, no Worksheet C is used and “I” is entered here. |

 

 

 

 

§. Terrorism; Career Offender; Criminal Livelihood; Armed Career Criminal; Repeat and Dangerous
Sex Offender (See Chapier Three, Part A, and Chapter Four, Part B)

a. Offense Level Total
If the provision for Career Offender (§4B1.1), Criminal Livelihood (§4B1.3), Armed Career N/A
Criminal (§4B 1.4), or Repeat and Dangerous Sex Offender (§4B1.5) results in an offense level total
higher than Item 3, enter the offense level total. Otherwise, enter “N/A”.

 

 

b. Criminal History Category
If the provision for Terrorism (§3A1.4), Career Offender (§4B1.1), Armed Career Criminal (§4B 1.4), N/A
or Repeat and Dangerous Sex Offender (§4B1.5) results in a criminal history category higher than
Item 4, enter the applicable criminal history category. Otherwise, enter “N/A”.

 

 

 

 

6. Guideline Range from Sentencing Table
Enter the applicable guideline range from Chapter Five, Part A, in months.

 

87 fo 108

 

7. Restricted Guideline Range (See Chapter Five, Part G)
If the statutorily authorized maximum sentence or the statutorily required
minimum sentence restricts the guideline range (Item 6) (see §§5G1.1 and 5G1.2), N/A fo N/A
enter either the restricted guideline range or any statutory maximum or minimum
penalty that would modify the guideline range. Otherwise, enter “N/A”.

 

 

 

 

 

Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) and
18 U.S.C. § 3553(e) — “The Safety Valve” — are applicable.

 

 

 

8. Undischarged Term of Imprisonment; Anticipated State Term of Imprisonment (See §5G1.3)

 

If the defendant is subject to an undischarged term of imprisonment, or an anticipated state term of
imprisonment, check this box. Below list the undischarged/anticipated term(s), the applicable section of
§5G1.3 and its direction or guidance as to whether the instant federal sentence is to be imposed to run
concurrently or consecutively to the undischarged/anticipated term(s), and any sentence adjustment.

 

 

 

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1638 Page 22 of 24

Worksheet D — Determining the Sentence [Page 2 of 4]

Defendant Zahid Sheikh

Docket Number

 

 

9. Sentencing Options (See Chapter Five, Sentencing Table and §§5B1.1(a) and 5C1.1)

Check the applicable box that corresponds to the Guideline Range entered in Item 6 or Item 7, if applicable.

 

Zone A (See §§5B1.1(a)(1) & SC1.1(a) & (b))

 

 

 

 

 

If checked, the following options are available:

Fine (See §§5C1.1(b) & 5E1.2(a))
“Straight” Probation (See §§5B1.1(a)(1) & 5C1.1(b))
Imprisonment (See §5C1.1(a) & (c)(1))

 

Zone B (See §§5B1.1(a)(2) & 5C1.1(a) & (c))

 

 

 

 

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (c)(2))

Imprisonment of at least one month plus supervised release with a condition that
substitutes community confinement or home detention for imprisonment

(See §5C1.1(c)(2))

Probation with a condition that substitutes intermittent confinement, community
confinement, or home detention for imprisonment (See §§5B1.1(a)(2) and 5C1.1(c)(3))

 

Zone C (See §5C1.1(a) & (d))

 

 

 

 

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (d)(1))

Imprisonment of at least one-half of the minimum term plus supervised release
with a condition that substitutes community confinement or home detention for
imprisonment (See §5C1.1(d)(2))

 

Zone D (See §5C1.1(a) & (f))

 

 

 

 

v If checked, the minimum term is to be satisfied by a sentence of imprisonment

10. Length of Term of Probation (See §5B1.2)

If probation is imposed, the guideline for the length of such term of probation is: (Check the applicable box)

 

 

 

 

 

 

v At least one year, but not more than five years if the offense level total is 6 or greater.

No more than three years if the offense level total is 5 or less.

U.S. Sentencing Commission Worksheets (November 1, 2016)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1639 Page 23 of 24

Worksheet D — Determining the Sentence [Page 3 of 4]

Defendant Zahid Sheikh Docket Number

 

11. Supervised Release (See §§5D1.1 and 5D1.2)

a. Imposition of a Term of Supervised Release:

 

 

 

v

 

 

 

 

 

 

 

Ordered because required by statute (See §5D1.1(a)(1)).

Ordered because a sentence of imprisonment of more than one year is imposed (See §5D1.1(a)(2)).

Is not ordered although a sentence of more than one year is imposed, because it is not required by
statute and the defendant likely will be deported after imprisonment (See §5D1.1(c)).

Ordered because it may be ordered in any other case (See §5D1.1(b)).

b. Length of Term of Supervised Release

Check the Class of the Offense:

 

 

 

v

 

 

 

 

 

 

 

 

 

 

 

 

Class A or B Felony: Two to Five Year Term (See §5D1.2(a)(1))

Class C or D Felony: One to Three Year Term (See §5D1.2(a)(2))

Class E Felony or Class A Misdemeanor: One Year Term (See §5D1.2(a)(3))

Ifa statutorily required mandatory minimum term of supervised release for the offense impacts the
guideline range for the applicable Class of Offense above, also check this box, and list the statutory
minimum term (See §5D1.2(c)):

years mandatory minimum term of supervised release
If an offense in 18 U.S.C. § 2332b(¢)(5)(B) that resulted in, or created a foreseeable risk of, death or

serious bodily injury to another person; or if a sex offense, the term of supervised release will not be
less than the minimum term established above, and may be up to life (See §5D1.2(b)).

Policy Statement: Ifa sex offense, the statutory maximum term of supervised release is recommended.

12. Restitution (See §5E1.1)

a. I£frestitution is applicable, enter the amount. Otherwise enter “N/A” and the reason:

$6,864 263.20

 

 

b. Enter whether restitution is statutorily mandatory or discretionary:

Mandatory

 

c. Enter whether restitution is by an order of restitution, or solely as a condition of supervision. Enter the
authorizing statute:

Order of restitution -- 18 USC 3663A

 

U.S. Seniencing Commission Worksheets (November 1, 2016)
Case 2:17-cr-20465-DPH-RSW ECF No. 209 filed 03/01/18 PagelD.1640 Page 24 of 24

Worksheet D — Determining the Sentence [Page 4 of 4]

Defendant Zahid Sheikh Docket Number

 

13. Fines (The Guideline Range for Fines for Individual Defendants) (See §5E1.2)

a. Special Fine Provisions Minimum Maximum

 

 

 

Y Check box if any of the counts of conviction is for a statute with
a special fine provision. (This does not include the general fine
provisions of 18 USC § 3571(b)(2) & (d)).

 

 

 

 

 

 

 

Enter the sum of statutory maximum fines for all such counts. $250,000
b. Fine Table (§5E1.2(c)(3)) $30.000 $300000
Enter the minimum and maximum fines. }

 

 

 

 

c. Fine Guideline Range
(Determined by the minimum of the Fine Table (Item 15(b)) and the
greater maximum above (Item 15(a) or 15(b))). $30,000 $250,000

 

 

 

 

 

 

 

 

d. Ability to Pay

 

Check this box if the defendant does not have an ability to pay.

 

 

 

14. Special Assessments for Individual Defendants (See §5E1.3)

Enter the total amount of the statutory special assessments required for all counts of conviction:

e $100 for each felony count of conviction.

e $25 for each Class A misdemeanor count of conviction.

e While not subject to guideline sentencing, the special assessments for a Class B misdemeanor,
and a Class C misdemeanor or infraction are $10 and $5 per count, respectively.

TOTAL: $200

15. Factors That May Warrant a Departure (See §1B1.1(b})

Consider Chapter Five, Part H (Specific Offender Characteristics) and Part K (Departures), and other policy
statements and commentary in the Guidelines Manual that might warrant consideration in sentencing.
(See also the “List of Departure Provisions’ included in the Guidelines Manual after the Index).

 

 

 

 

 

 

 

 

16. Factors That May Warrant a Variance (See §1B1.1(c))

Consider the applicable factors in 18 U.S.C. § 3553(a) taken as a whole.

 

 

 

 

 

Completed by Jacob Foster Date 10/29/2017

 

U.S. Sentencing Commission Worksheets (November 1, 2014)
